                                                 Entered on Docket
                                                 July 19, 2016
                                                 EDWARD J. EMMONS, CLERK
                                                 U.S. BANKRUPTCY COURT
                                                 NORTHERN DISTRICT OF CALIFORNIA


  1   LEADER-PICONE & YOUNG, LLP
      MALCOLM LEADER-PICONE (State Bar No. 104620)
  2   1970 BROADWAY, SUITE 1030
      OAKLAND, CA 94612              Signed and Filed: July 19, 2016
  3   TELEPHONE: 510-444-2404
      FACSIMILE: 510-444-1291
  4   EMAIL:     mlp@leader-picone.com
  5   Attorneys for Claimant                  ________________________________________
      JARED HAWKLEY                           DENNIS MONTALI
                                              U.S. Bankruptcy Judge
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  7
                                 UNITED STATES BANKRUPTCY COURT
  8
                                 NORTHERN DISTRICT OF CALIFORNIA
  9
                                         SAN FRANCISCO DIVISION
 10

 11   In re                                          )   Case No. 16-30063
                                                     )
 12   YELLOW CAB COOPERATIVE, INC.                   )   Chapter 11
 13           Debtor,                                )
                                                     )   ORDER GRANTING MOTION FOR
 14   Tax I.D. No.:XX-XXX-7102                       )   LEAVE TO FILE LATE CLAIM.
                                                     )
 15                                                  )   Date: July 22, 2016
                                                     )   Time: 10:00 a.m.
 16
                                                     )   Judge: Hon. Dennis Montali
 17                                                  )          450 Golden Gate Avenue
                                                     )          Courtroom 17, 16th Floor
 18                                                  )          San Francisco, CA 94102
                                                     )
 19
                                                     ORDER
 20

 21                  The motion of claimant Jared Hawkley for an order permitting the filing of his claim

 22   against the debtor after the bar date, pursuant to Bankruptcy Rule 3003(c)(3), was scheduled for

 23   hearing on July 22, 2016 at 10:00 a.m., in Courtroom 17 of the above-referenced court. No opposition

 24   to the motion having been filed, and the debtor having filed a statement of non-opposition, the Court

 25   for good cause grants the motion without hearing.

 26                                         ***END OF ORDER***
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      ORDER GRANTING MOTION                                                                Case No. 16-30063
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  1
                                               SERVICE LIST
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  3
      [Parties served as ECF Registered Participants pursuant to Bankruptcy Local Rule 9022-1(a)]

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      SERVICE LIST                                                                     Case No. 16-30063
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